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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                              1/12/2021
- - - - - - - - - - - - - - - x
UNITED STATES OF AMERICA      :
                                             ORDER
             - v. –                :
                                            19 Cr. 627 (VM)
DEON KING,                         :

                 Defendant.        :

- - - - - - - - - - - - - - - x


             WHEREAS, with the defendant’s consent, his guilty plea

allocution was made before a United States Magistrate Judge on

December 30, 2020;

             WHEREAS, a transcript of the allocution was made and

thereafter was transmitted to the District Court; and

             WHEREAS, upon review of that transcript, this Court has

determined that the defendant entered the guilty plea knowingly

and voluntarily and that there was a factual basis for the guilty

plea;

             IT IS HEREBY ORDERED that the defendant’s guilty plea is

accepted.

SO ORDERED:

Dated:       New York, New York
                      12 2021
             January ___,
